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      META PLATFORMS, INC. and
13    MARK ZUCKERBERG

14                              UNITED STATES DISTRICT COURT

15                           NORTHERN DISTRICT OF CALIFORNIA

16                                       SAN FRANCISCO DIVISION

17
                                                           Case No. 3:22-cv-02646-LB
     LAURA LOOMER, as an individual, LAURA
18
     LOOMER, in her capacity as a Candidate for            DECLARATION OF EMILY BARNET
19   United States Congress, and LAURA LOOMER              IN SUPPORT OF META PLATFORMS,
     FOR CONGRESS, INC.,                                   INC. AND MARK ZUCKERBERG’S
20                                                         MOTION TO DISMISS PLAINTIFFS’
                           Plaintiffs,
21                                                         AMENDED COMPLAINT
            v.
22                                                         Hon. Laurel Beeler
     META PLATFORMS, INC., MARK                            Courtroom B, 15th Floor
23   ZUCKERBERG, in his capacity as CEO of Meta            Date: January 26, 2023
     Platforms, Inc. and as an individual, TWITTER,        Time: 9:30 a.m.
24   INC., and JACK DORSEY, in his capacity as
     former CEO of Twitter, Inc. and as an individual,
25   THE PROCTOR & GAMBLE COMPANY,
26   DOES 1-100, individuals,
                           Defendants.
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      CASE NO.   3:22-CV-02646-LB                                         BARNET DECLARATION ISO
                                                                      MOTION TO DISMISS AM. COMPL.
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 1           I, Emily Barnet, declare and state as follows:

 2           1.       I am an attorney at the law firm Wilmer Cutler Pickering Hale and Dorr LLP,

 3   counsel for Defendants Meta Platforms, Inc. and Mark Zuckerberg in the above-captioned

 4   action. I am a member in good standing of the New York bar, and I am admitted pro hac vice to

 5   appear before this Court. I submit this Declaration in support of Meta and Mr. Zuckerberg’s

 6   Motion to Dismiss Plaintiffs’ Amended Complaint.

 7           2.       Attached hereto as Exhibit 1 is a true and correct copy of a letter from Sonal N.

 8   Mehta, counsel for Defendants Meta and Mr. Zuckerberg, to counsel for Plaintiffs, dated July 8,

 9   2022.
10           3.       Attached hereto as Exhibit 2 is a true and correct copy of a letter from John M.
11   Pierce, counsel for Plaintiffs, to Sonal N. Mehta, counsel for Defendants Meta and Mr.
12   Zuckerberg, dated August 7, 2022.
13           4.       Attached hereto as Exhibit 3 is a true and correct copy of Facebook’s Terms of
14   Service webpage, as downloaded on October 26, 2022 from Facebook’s website at
15   https://www.facebook.com/legal/terms.
16           5.       Attached hereto as Exhibit 4 is a true and correct copy of the Facebook
17   Community Standards webpage, as downloaded on October 26, 2022 from Facebook’s website
18   at https://transparency.fb.com/policies/community-standards.
19           6.       Attached hereto as Exhibit 5 is a true and correct copy of Facebook’s Hate
20   Speech policy webpage, as downloaded on October 26, 2022 from Facebook’s website at
21   https://transparency.fb.com/policies/community-standards/hate-speech/.
22           7.       Attached hereto as Exhibit 6 is a true and correct copy of Facebook’s Dangerous
23   Individuals and Organizations policy webpage, as downloaded on October 26, 2022 from
24   Facebook’s website at https://transparency.fb.com/policies/community-standards/dangerous-
25   individuals-organizations/.
26           8.       Attached hereto as Exhibit 7 is a true and correct copy of an article entitled
27   “Facebook bans ‘dangerous individuals,’” dated May 3, 2019, as downloaded on August 8, 2022
28   from BBC News’s website at https://www.bbc.com/news/technology-48142098.

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 1          9.       Attached hereto as Exhibit 8 is a true and correct copy of an article entitled

 2   “Facebook bans ‘dangerous individuals’ cited for hate speech,” dated May 3, 2019, as

 3   downloaded on August 8, 2022 from AP News’s website at https://apnews.com/article/alex-

 4   jones-north-america-ap-top-news-sc-state-wire-ca-state-wire-

 5   7825d0df3fda4799a78da92b9e969cdc.

 6          10.      Attached hereto as Exhibit 9 is a true and correct copy of an article entitled

 7   “Politicians Won’t Be allowed On Facebook If They’ve Previously Been Banned,” dated

 8   November 14, 2019, as downloaded on August 8, 2022 from Breitbart’s website at

 9   https://www.breitbart.com/tech/2019/11/14/politicians-wont-be-allowed-on-facebook-if-theyve-
10   previously-been-banned.
11          11.      Attached hereto as Exhibit 10 is a true and correct copy of an article entitled
12   “Facebook exempts political ads from ban on making false claims,” dated October 4, 2019, as
13   downloaded on August 8, 2022 from the Guardian’s website at
14   https://www.theguardian.com/technology/2019/oct/04/facebook-exempts-political-ads-ban-
15   making-false-claims.
16          12.      Attached hereto as Exhibit 11 is a true and correct copy of an article entitled
17   “Facebook’s Updated Advertising Policy Could Enable Politicians To Spread Misinformation,”
18   dated October 3, 2019, as downloaded on August 8, 2022 from Newsweek’s website at
19   https://www.newsweek.com/trump-biden-facebook-misleading-ads-1463054.
20          13.      Attached hereto as Exhibit 12 is a true and correct copy of an article entitled
21   “Zuckerberg Tells Fox News Facebook Won’t Censor Politicians, While Warren Says Facebook
22   Could Help Trump Win Again,” dated October 7, 2019, as downloaded on August 8, 2022 from
23   Newsweek’s website at https://www.newsweek.com/zuckerberg-tells-fox-news-facebook-wont-
24   censor-politicians-while-warren-says-facebook-could-help-1466117.
25          14.      Attached hereto as Exhibit 13 is a true and correct copy of an article entitled
26   “After Social Media Bans, Militant Groups Found Ways to Remain,” dated April 19, 2019, as
27   downloaded on August 8, 2022 from the New York Times’s website at
28   https://www.nytimes.com/2019/04/19/technology/terrorist-groups-social-media.html.

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                                                                          MOTION TO DISMISS AM. COMPL.
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 1          15.      Attached hereto as Exhibit 14 is a true and correct copy of an article entitled

 2   “Twitter takes down Hamas, Hezbollah-affiliated accounts after lawmaker pressure,” dated

 3   November 4, 2019, as downloaded on August 8, 2022 from the Hill’s website at

 4   https://thehill.com/policy/technology/468866-twitter-takes-down-hamas-hezbollah-affiliated-

 5   accounts-after-lawmaker.

 6

 7          I declare under penalty of perjury that the foregoing is true and correct.

 8          Executed on this 27th day of October in New York, NY.

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                                                         By:    /s/ Emily Barnet
10                                                              EMILY BARNET
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      CASE NO.   3:22-CV-02646-LB                    3                      BARNET DECLARATION ISO
                                                                         MOTION TO DISMISS AM. COMPL.
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 1                                   ATTORNEY ATTESTATION

 2          I, Sonal N. Mehta, am the ECF User whose ID and password are being used to file this

 3   Declaration and accompanying exhibits. In compliance with Civil Local Rule 5-l(h), I hereby

 4   attest that concurrence in the filing of this document and all attachments has been obtained from

 5   each signatory.

 6

 7    Dated: October 27, 2022                          By:   /s/ Sonal N. Mehta
                                                              Sonal N. Mehta
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